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SENT BY: SHUFFLE TECH INTL LLC; 8122768864; JUN-4-10 9:44AM; PAGE {
SHUFFLE TECH™
June 3, 2070
Mr. Kevin Wolff

Wolff Gaming, Iric.
9655 W. Colfax Avenue, Suite 300
Lakewood, CO 80215

RE: Letter of Inteni/Earnest Money
Dear Kavin,

- This is to confirm our mutual commitment to proceed with the draft Development& __..
Distribution Agreement based on the Discussion Draft dated June 3, 2010 and amended
today as: per our discussion. Our mutual commitment to proceed is contingent upon
attorney review and gaming authority review, and language of the draft Agreement is
subject to modification to conform to applicable gaming jaw and regulation.

As evidence of Wolff Gaming's commitment to proceed, Wolff Gaming agrees
immediately pay $100,000 toward the total $525,000 initial commitment described in the
draftAgreement, This eamest money Is to be held by Shuffle Tech and may-be used to
pracead with: the project; however, in ‘the event that a’final- ‘Agreement: cannotbé signed
within'90 days, ‘Walff'Garning may raquéerthe retum of the entire $100,000:paid ds
eainest money, .and-sald earnest will:be:réfunded within 15. days of said request.
Provided the. Agreement Is signed, the earnest money will be deemed to be the initial
payment.

Please countersign this letter below to affirm that this represents our agreement.

Richard J, Schultz,
‘Manager/CEO

fom _

Lo a Kevin Wolf, President Date

Shuttle Tech Intemational LLC - 1440 N, Kingsbury, Sulte 218 - Chicago, iL 6p642

